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AO 91 (Rev. ll/l l) Criminal Complaint 1

UNITED STATES DISTRFIVCTl CoURT

for the

Southern District of Texas

 

 

 

United States of America )
v. ) .
1. Adolfo RlvERA-Hemandez (1990/MX) ) Case N°' ¢`i'- \g W"§ 21 5 3 \
2. Alicia HERNANDEz-Arguello (1966/MX) § 1 g
)
l )
Defendant(s)
` . CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of November 8, 2018 in the county of Hida|QO in the
Southern District of Texas , the defendant(s) violated:
Code Section ‘ Ojj”ense Description _
21 USC § 952 |||ega| |mportation of a Control|ed Substanoe / Approximate|y 10.84

Ki|ograms of Cocaine, a Schedule || Control|ed Substance.

21 USC § 963 Conspiracy to I||egal|y |mport a Control|ed Substance / Approximately 10.84
Ki|ograms of Cocaine, a Schedu|e ll Control|ed Substance. 3

/

` This criminal complaint is based on`these facts:

See Attachment "A"

d Continued on the attached sheet.

M¢M"

 

Complainant 's signature

Nicholas C. Stott, HS| Special Agent

 

Printed name and title

    

Swom to before e gned in my presence.

 

Date: 11/09/2018 '-Q:Z.~» ,,_M_ '

' y _ Judge ’s signature

City and state; McA|len, Texas U.S. Magistrate Judge Juan A|anis

Printed name and title

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Attachment “A”

l, Nicholas C. Stott, am a Special Agent of the United States Homeland Security Investigations
(HSI), and have knowledge of the following facts:

1.

On November 8, 2018, Homeland Security Investigations in McAllen, Texas, (HSI McAllen)
received a request for investigative assistance from the U.S. Custorns and Border Protection
(CBP) Office of Field Operations (OFO) at the Pharr Port of Entry (POE) in Pharr, Texas.

_CBP Officers (CBPOS) detained Adolfo RIVERA-Hernandez (her_eafter RIVERA), a citizen

of Mexico, and Alicia HERNANDEZ-Arguello (hereinafter HERNANDEZ) while attempting
to enter the U.S. with approximately 10.84 kilograms (kg) of cocaine concealed within the
rocker panels of the Volkswagen J etta passenger car they were occupying

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During primary inbound inspection, CBP Officers (CBPOs) obtained a negative oral
declaration for fruits, food, alcohol, tobacco, drugs, weapons and currency over $10,000.00.
CBPOS referred RIVERA, HERNANDEZ and the vehicle to secondary inspection for an
intensive examination due to a lookout.

. 'During'secondary finspection, a CBP K-9 narcotics detection team conducted a free air

inspection which resulted in a positive alert for the odor _of controlled substance(s) emanating

_ from the vehicle.

A physical search of the vehicle was conducted, and 10 tape wrapped packages, weighing
approximately 10.84 kilograms, were discovered concealed within an aftermarket constructed
concealed compartment in the rocker panels of the vehicle. CBPOs field tested the substance

` inside the packages which were positive for the characteristics of cocaine.

Homeland Security Investigations (HSI), Special Agents (SA) responded to the Pharr POE to
assist in the investigation HSI SAs interviewed RIVERA who stated he was hired by an
unknown person in Mexico and to be paid $200.00 USD to transport what he was told to be
United States currency from the United States into Mexico. However, RIVERA stated he
suspected he was in reality transporting drugs into the United States. RIVERA also stated his
mother, HERNANDEZ, accompanied him to provide legitimacy for the trip, and she also knew
of the illegal activity. SAs interviewed HERNANDEZ, who stated she suspected they were
transporting drugs into the United States.

RIVERA and HERNANDEZ will be charged with`F`,one count of Illegal Importation of a

l Controlled Substance, in violation of 21 USC § 952 and one count of Conspiracy to Illegally_
Import a Controlled Substance, in violation of 21 USC § 963.

